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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINEVILLE DIVISION

TED THEODORE DIEDRICKS, JR.
et al.,

             Plaintiffs,

vs.                                            Case No. 1:13cv210-MW/GRJ

PARKER VAN HART
and
JENNIFER VAN HART,

          Defendants.
_______________________________/

              ORDER ACCEPTING NOTICE AND DIRECTING
                    STATUS REPORT TO BE FILED

      This Court has considered and accepts, without hearing, the “Notice per

Order of November 14, 2013.” ECF No. 22. Pursuant to this Court’s order of

November 14, 2013, the parties were directed to file status reports the last day of

each May and November while these proceedings are stayed. ECF No. 7.

Accordingly, pursuant to this Court’s order, the parties shall file their next status

report on or before May 31, 2019, and every May and November thereafter.

      SO ORDERED on November 7, 2018.

                                        s/Mark E. Walker
                                        United States District Judge
